                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         STATESVILLE DIVISION
                              5:09V87-02-V
                            (5:97CR109-3-V)


CHRISTIAN DEXTER BYRD,        )
     Petitioner,              )
                              )
       v.                     )                       ORDER
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)

     THIS MATTER comes before the Court on Petitioner’s Motion

under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence,

filed July 24, 2009.      For the reasons stated herein, Petitioner’s

Motion to Vacate must be dismissed as time-barred.

                I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent here, on May 12, 1997, Petitioner was charged with

conspiring to possess with intent to distribute cocaine powder

and cocaine base, in violation of 21 U.S.C. § 846 (Count One);

and he was charged with two counts of possession with intent to

distribute cocaine powder and cocaine base, and aiding and abet-

ting that offense, in violation of 21 U.S.C. § 841 and 18 U.S.C.

§ 2 (Counts Two and Five).1      (Case No. 5:99CR109-3, document #


     1
       In addition, Count Seven set forth a forfeiture allegation against
Petitioner under 21 U.S.C. § 853(f). However, the Government subsequently
dismissed that allegation during Petitioner’s Sentencing Hearing.




     Case 5:97-cr-00109-KDB   Document 305    Filed 08/06/09   Page 1 of 8
1).    On May 28, 1997, the Government filed an amended Informa-

tion pursuant to 21 U.S.C. § 841(b)alleging that the conspiracy

involved in excess of five kilograms of cocaine powder and co-

caine base; that Count Two involved in excess of 47 grams of

cocaine base; and that Count Five involved in excess of 12 grams

of cocaine base.      (Case No. 5:99CR109-3, document # 9).            On June

2, 1997, Petitioner was arraigned at which time he entered “not

guilty” pleas and requested a jury trial.

       To that end, on January 14, 1998, Petitioner’s jury trial

was commenced.      After several days of trial, on January 23, 1998,

the Jury convicted Petitioner of Counts One and Two, and acquit-

ted him of Count Five.          (Case No. 5:99CR109-3, document # 178).

On March 15, 1999, the Court held Petitioner’s Sentencing Hear-

ing.    After reviewing the record and hearing from the parties,

the Court sentenced Petitioner to concurrent terms of 210 months

imprisonment.      (Case No. 5:99CR109-3, document # 229).

       Petitioner timely appealed his case to the Fourth Circuit

Court of Appeals.      However, after a re-hearing en banc, Peti-

tioner’s conviction and sentence both were affirmed by an unpub-

lished opinion.      See United States v. Byrd, 30 Fed. Appx 38 (4th

Cir. Jan. 14, 2002).       Petitioner did not seek any further direct

review in his case.       Rather, after the passage of more than

several years, Petitioner now has returned to this Court on the

instant Motion to Vacate.         By his Motion, Petitioner raises a


                                        2


       Case 5:97-cr-00109-KDB    Document 305   Filed 08/06/09   Page 2 of 8
single, essentially undecipherable claim that:

            my conviction was hear/say [sic] not concrete
            evidence[;] testimony for timecuts [sic] my
            trial had officers/one (1) convicted felon on
            jury[;] gun charges were unassesable [sic]
            due to it never were [sic] used in any
            crime/wasn’t a convicted felon /gun wasn’t
            stolen. I didn’t have a fair trial/fair
            representation.

     Notwithstanding his belief to the contrary, however, Peti-

tioner’s Motion to Vacate is subject to summary dismissal as

time-barred.



                             II.   ANALYSIS

     At the outset of its analysis, this Court notes that Rule

4(b) of the Rules Governing Section 2255 Proceedings directs

sentencing courts promptly to examine motions to vacate in order

to determine whether the petitioner is entitled to any relief on

the claims set forth therein.      When it plainly appears from the

motion, any attached exhibits, and the record of prior proceed-

ings that a petitioner is not entitled to relief, a court must

dismiss the motion.

     As was noted on Petitioner’s form-Motion to Vacate, in 1996

Congress enacted the Antiterrorism and Effective Death Penalty

Act (hereafter, the “AEDPA”).      Among other things, the AEDPA

amended 28 U.S.C. §2255 by imposing a 1-year statute of limita-

tions period for the filing of a motion to vacate.           The amendment

provides:

                                    3


    Case 5:97-cr-00109-KDB   Document 305   Filed 08/06/09   Page 3 of 8
     A 1-year period of limitation applies to a motion under this

section.   The limitation period shall run from the latest of–

     (1) the date on which the judgment of conviction
     becomes final;

     (2) the date on which the impediment to making a motion
     created by governmental action in violation of the
     Constitution or laws of the United States is removed,
     if the movant was prevented from making a motion by
     such governmental action;

     (3) the date on which the right asserted was initially
     recognized by the Supreme Court and made retroactively
     applicable to cases on collateral review; or

     (4) the date on which the facts supporting the claim or
     claims presented could have been discovered through the
     exercise of due diligence.

     As previously was noted, Petitioner’s conviction and sen-

tence were affirmed on appeal by an opinion filed January 14,

2002, and he did not seek further direct review for his case.

Consequently, Petitioner’s case became final 90 days after entry

of the appellate decision, i.e., on April 15, 2002.           See Clay v.

United States, 537 U.S. 522 (2003) (holding that “a judgment of

conviction becomes final when the time expires for filing a

petition for certiorari contesting the appellate court’s affir-

mation of the conviction.”).     Therefore, in the absence of any

intervening circumstances, pursuant to the AEDPA, Petitioner had

up to and including April 15, 2003, in which to file the instant

Motion to Vacate.    Obviously, Petitioner did not file his Motion

by that date.

     Petitioner properly has recognized that his Motion to Vacate

                                    4


    Case 5:97-cr-00109-KDB   Document 305   Filed 08/06/09   Page 4 of 8
likely would be construed as time-barred.          That is, Petitioner’s

form-Motion to Vacate expressly admonished2 him that if he were

filing his Motion more than one year after his Judgment had

become final, such Motion could be construed as time-barred.

Thus, Petitioner set out to establish that his claim somehow has

been timely presented.        Petitioner reports that his Motion to

Vacate should not be construed as time-barred:

            due to ineffective counsiling/tampering [sic] by
            officers/Catawba County Sheriff [D]epartment, which
            removed all my information from my property,
            transcripts and discovery were sent to Florida, to a
            Mr. Keith Edison, which I never herd [sic] from again,
            which I saw Catawba County Sheriff [D]epartment agents
            at Elkton FCI in Elkton, Ohio around the time I sent
            these transcripts/discovery book when all my addresses
            were missing from my property.

            The Antiterrorism and Effective Death Penalty
            Act of 1996 (“AEDPA”) as contained in 28
            U.S.C. § 2255, paragraph 6, provides in part
            that: A one-year period of limitation shall
            apply to a motion under this section. The
            limitation period shall run from latest of –



      2
       In January 2002, the Fourth Circuit Court of Appeals decided the case
of Hill v. Braxton, 277 F.3d 701, 706 (4 th Cir. 2002). In Hill, the Court
concluded that “when a federal habeas court, prior to trial, perceives a pro-
se [petition or motion to vacate] to be untimely and the state has not filed a
motion to dismiss based upon the one-year limitations period, the [district]
court must warn the petitioner that the case is subject to dismissal . . .
absent a sufficient explanation.” Consistent with that requirement, in
December 2004, the Administrative Office of the Courts modified the federal
habeas form to comply with Hill’s notice provision. The new form now includes
a section which directs petitioners to address the “timeliness of [their]
Petition[s].” In particular, question 18 on the new form advised this
Petitioner that if his conviction became final more than one year before the
time that the Motion to Vacate is being submitted, he “must explain why the
one-year statute of limitations contained in 28 U.S.C. §2255 [also set forth
on the form] does not bar [his] motion.” Thus, inasmuch as Petitioner obvi-
ously has read that question and has proffered a reason why his Motion should
be construed as timely filed –- albeit unsuccessfully -- the Court finds that
no further notice or opportunity for response is required for him.

                                      5


     Case 5:97-cr-00109-KDB    Document 305   Filed 08/06/09   Page 5 of 8
          (2) the date on which the impediment to
          making a motion created by government action
          in violation of the constitution or laws of
          the United States is removed, if the movant
          was prevented from making such motion by
          government action.

However, this explanation is not compelling, and it clearly falls

far short of establishing that the Government somehow impeded his

timely filing of the Motion.

     Furthermore, a review of his Motion reflects that Peti-

tioner’s claims relate to matters of which he was or should have

been aware at the time he was prosecuted and sentenced by this

Court.   Likewise, Petitioner’s claims do not relate to any inter-

vening, retroactively applicable change in the law.             Therefore,

Petitioner has failed to demonstrate any valid reason for con-

struing his filing deadline as commencing at any time later than

the April 2003 date which this Court has identified.

     Similarly, Petitioner’s so-called explanation also fails to

establish that his case falls into the category of one of those

“rare instances” in which it would be unconscionable for this

Court to enforce the limitations period against him.             Therefore,

the time during which Petitioner delayed bringing this Motion

cannot be equitably tolled.     See       Rouse v. Lee, 339 F.3d 238, 246

(4th Cir.) (en banc) (discussing the requirements for equitable

tolling), cert. denied, 541 U.S. 905 (2004); and United States v.

Sosa, 364 F.3d 507, 511-13 (4th Cir. 2004) (same).

     Finally, the Court also is aware of the Fourth Circuit’s

                                      6


    Case 5:97-cr-00109-KDB   Document 305     Filed 08/06/09   Page 6 of 8
decision in Bilal v. North Carolina, 287 Fed. App’x 241 (4th Cir.

July 18 2008), in which the Fourth Circuit, specifically limiting

its holding to the facts of that case, concluded that this

Court’s sua sponte dismissal of a habeas petition was pre-mature.

However, this case is distinguishable from Bilal.

     In Bilal, the petitioner answered question 18 with an ambi-

guous “N/A” response, thereby possibly reflecting his confusion

as to either the question or his status.         Bilal also involved a

petition which was brought under § 2254 thirty days after the

expiration of the filing deadline.         Here, Petitioner has provided

a lengthy response to question 18; however, his response simply

is insufficient to excuse his delay.         Furthermore, the instant

Motion is made under § 2255, and is more than six years outside

the one-year limitations period.         Last, unlike in Bilal, this

Court has access to Petitioner’s entire criminal file, a review

of which clearly establishes the untimeliness of this Motion to

Vacate.   In sum, therefore, the undersigned finds that dismissal

of Petitioner’s Motion for untimeliness is warranted.

                             III.   CONCLUSION

     The AEDPA requires, among other things, Petitioners seeking

to bring Motions to Vacate under 28 U.S.C. §2255 do so within the

time limitations prescribed by that statute.          Here, Petitioner

has failed to meet that requirement, and he has failed to esta-

blish any other basis for construing his Motion as timely filed.


                                     7


    Case 5:97-cr-00109-KDB    Document 305   Filed 08/06/09   Page 7 of 8
Accordingly, Petitioner’s Motion to Vacate shall be dismissed as

time-barred.

                              IV.   ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the instant Motion

to Vacate is DISMISSED as untimely filed.

     SO ORDERED.



                                    Signed: August 6, 2009




                                    8


    Case 5:97-cr-00109-KDB   Document 305    Filed 08/06/09   Page 8 of 8
